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                IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF OKLAHOMA

JAMES ALLEN,                                              )
                               Plaintiff(s),              )
                                                          )
vs.                                                       )    Case No. CIV 14-313-FHS
                                                          )
SUNOCO LOGISTICS PARTNERS L.P.                            )
                    Defendant(s).                         )



                            JUDGMENT DISMISSING ACTION
                             BY REASON OF SETTLEMENT

       The Court has been advised by counsel that this action has been settled, or is in the process

of being settled. Therefore, it is not necessary that the action remain upon the calendar of the Court.

       IT IS ORDERED that the action is dismissed without prejudice. The Court retains complete

jurisdiction to vacate this order and to reopen the action upon cause shown that settlement has not

been completed and further litigation is necessary.

       IT IS FURTHER ORDERED that the clerk forthwith serve copies of this judgment upon

the attorneys for the parties appearing in this action.

       IT IS FURTHER ORDERED that parties are directed to submit closing papers within 30

days from date of this judgment or the case will be deemed dismissed.

       DATED this 13th day of March, 2015.
